                  FOR PUBLICATION

   UNITED STATES COURT OF APPEALS
        FOR THE NINTH CIRCUIT

COALITION ON HOMELESSNESS;       No. 23-15087
TORO CASTANO; SARAH CRONK;
JOSHUA DONOHOE; MOLIQUE         D.C. No. 4:22-cv-
FRANK; DAVID MARTINEZ;            05502-DMR
TERESA SANDOVAL;
NATHANIEL VAUGHN,
                                    ORDER
          Plaintiffs-Appellees,
  v.

CITY AND COUNTY OF SAN
FRANCISCO; SAN FRANCISCO
POLICE DEPARTMENT; SAN
FRANCISCO DEPARTMENT OF
PUBLIC WORKS; SAN
FRANCISCO DEPARTMENT OF
HOMELESSNESS AND
SUPPORTIVE HOUSING; SAN
FRANCISCO FIRE DEPARTMENT;
SAN FRANCISCO DEPARTMENT
OF EMERGENCY MANAGEMENT;
LONDON BREED, in her Official
Capacity as Mayor; SAM DODGE, in
his Official Capacity as Director of the
Healthy Streets Operation Center
(HSOC),

               Defendants-Appellants.
2     COAL. ON HOMELESSNESS V. CITY & CNTY. OF SAN FRANCISCO


                        Filed July 8, 2024

    Before: Patrick J. Bumatay, Lucy H. Koh, and Roopali H.
                      Desai, Circuit Judges.


                          SUMMARY *


                          Homelessness

    The panel (1) withdrew its opinions filed on January 11,
2024, reported at 90 F.4th 975 (9th Cir. 2024), and 2024 WL
125340 (9th Cir. Jan. 11, 2024), in light of the U.S. Supreme
Court’s decision in City of Grants Pass v. Johnson, No. 23-
175 (U.S. June 28, 2024), which held that the enforcement
of generally applicable laws regulating camping on public
property does not constitute “cruel and unusual punishment”
prohibited by the Eighth Amendment; and (2) filed a
memorandum disposition replacing both withdrawn
decisions.


                             ORDER

    The opinions filed on January 11, 2024 (Dkt Nos. 89,
90), reported at Coalition on Homelessness v. City and
County of San Francisco, 90 F.4th 975 (9th Cir. 2024), and
2024 WL 125340 (9th Cir. Jan. 11, 2024), are withdrawn in
light of the U.S. Supreme Court’s decision in City of Grants

*
 This summary constitutes no part of the opinion of the court. It has
been prepared by court staff for the convenience of the reader.
   COAL. ON HOMELESSNESS V. CITY & CNTY. OF SAN FRANCISCO   3


Pass v. Johnson, No. 23-175 (U.S. June 28, 2024). A
concurrently filed memorandum disposition replaces both
withdrawn decisions.
   IT IS SO ORDERED.
